           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )
v.                                        )      No. 08-00311-02-CR-W-FJG
                                          )
NOE GARCIA,                               )
                                          )
                     Defendant.           )


                                         ORDER


       Currently pending before the Court is defendant’s Motion to Inspect Grand Jury

Minutes and Dismiss Indictment (Doc. # 297).

       On November 18, 2008, defendant Noe Garcia was indicted by a grand jury

along with ten others for various narcotics, firearms, immigration and forfeiture related

crimes. On July 15, 2009, Garcia pled guilty to one count of conspiracy to distribute

more than 500 grams of methamphetamine, more than 5 kilograms of cocaine and

illegal re-entry into the United States. On January 28, 2010, Garcia was sentenced to

135 months in prison on Count One and six months imprisonment on Count Twelve to

run concurrent with each other.

       In his Motion, Garcia moves to dismiss the indictment upon the ground that the

government knowingly introduced perjured testimony and deceived the grand jury that

issued the indictment. He also alleges that the evidence was not legally sufficient and

the prosecutor failed to properly instruct the grand jury. Defendant then requests

permission to inspect the charge to the grand jury as well as the minutes of the




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testimony presented to the grand jury. He states that an examination of the minutes

and charge is necessary in order to allow him to fully and effectively present further

argument in support of his motion. The Government states in response that there are no

grounds to dismiss the indictment. However, the Government has agreed to provide

Garcia with a copy of the grand jury transcripts as soon as practicable.

       In United States v. Louper-Morris, No. 08-063 JRT/JSM, 2009 WL 5030771,

(D.Minn. Dec. 14, 2009), the Court stated:

           An indictment returned by a legally constituted and unbiased grand
       jury, . . . if valid on its face, is enough to call for trial of the charge on the
       merits. . . . Insufficient evidence is not a basis for dismissal of a facially
       valid indictment. . . .[I]n order to have a charge dismissed for an alleged
       misstatement or even a perjurious statement [before the grand jury], [the
       defendant] must show that the misstatements were material. . .
       .[M]isstatements or mistakes alone [do not] justify the dismissal of an
       indictment which is valid on its face.

Id. at *6 (internal citations and quotations omitted). In light of the fact that defendant

has made only generalized statements and allegations and has offered no specific

information regarding his claims, the Court finds no basis on which to dismiss the

indictment. Additionally, the Court would note that even if defendant were to

supplement his motion to dismiss based on further examination of the grand jury

minutes, such a challenge is unlikely to succeed because “[v]oluntary guilty pleas waive

all non-jurisdictional defects in the proceedings against the defendant.” Olivarez v.

Quarterman, No. V-04-67, 2008 WL 416256, *8 (S.D.Tex. Feb. 13, 2008). Claims

regarding witness perjury are not jurisdictional in nature. Franklin v. United States, 589

F.2d 192, 194-95 (5th Cir.) cert. denied, 441 U.S. 950, 99 S.Ct. 2177, 60 L.Ed.2d 1055

(1979)(“By entering a knowing, voluntary, intelligent guilty plea on the advice of


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competent counsel, [Petitioner] has waived all nonjurisdictional complaints . . . [such as]

claims regarding Miranda warnings, coerced confessions, perjury and illegal searches

and seizures. . . .”); Nasso v. United States, No. CV-05-1015 (FB), 2005 WL 2591870

(E.D.N.Y. Oct. 13, 2005)(“Because [petitioner’s] perjury claim is nonjurisdictional in

nature and was not reserved for appeal, his guilty plea waived the claim.”).

       Accordingly, for the reasons stated above, the Court hereby DENIES Garcia’s

Motion to Dismiss the Indictment (Doc. # 297).



Date: 12/1/2011                                  /S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                            Fernando J. Gaitan, Jr.
                                                 Chief United States District Judge




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